                EXHIBIT
                   4




Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 1 of 11 PageID #:
                                    2734
Erica Russell

From:                                        Erica Russell
Sent:                                        Friday, March 15, 2024 5:39 PM
To:                                          Linda Oxford; Daniel H Rader IV; vanessa; Elizabeth Kramer; Emily Taylor; Lisa May; Jon
                                             Lakey; Ben C. Allen; Keith Grant (kgrant@rswlaw.com); Aaron Wells; L Rufolo; Kristin E.
                                             Berexa
Cc:                                          Kevin Osborne; Heather Collins; Julie Erickson
Subject:                                     RE: B.P. et al. v. Johnson City, Tenn. et al. -- Depositions
Attachments:                                 24.03.15 Rutherford Subpoena to Produce.pdf


Counsel,

Please see attached subpoena for service on Alunda Rutherford on Tuesday, March 19. This is a subpoena to
produce documents and is not a duplicate of the subpoena I sent you earlier this evening.

Best,


                                                       Erica Russell
                                                       OFFICE MANAGER & SR. PARALEGAL
                                                       615.724.1996
                                                       7000 Executive Center Dr. #320
                                                       Brentwood, TN 37027




NOTICE: This e-mail message and all attachments transmitted with it may contain legally privileged and confidential information intended solely for the
use of the addressee. If the reader of this message is not the intended recipient, you are hereby notified that any reading, dissemination, distribution, copying,
or other use of this message or its attachments is strictly prohibited. If you have received this message in error, please notify the sender
(erica@hmccivilrights.com) immediately by electronic mail and delete this message and all copies and backups thereof. Thank you.


From: Erica Russell
Sent: Friday, March 15, 2024 4:54 PM
To: Linda Oxford <linda@eko.law>; Daniel H Rader IV <danny@moorerader.com>; vanessa
<vanessa@advocatesforsurvivors.com>; Elizabeth Kramer <elizabeth@eko.law>; Emily Taylor
<etaylor@watsonroach.com>; Lisa May <lisa@hbm-lawfirm.com>; Jon Lakey <jlakey@bpjlaw.com>; Ben C. Allen
<ballen@fbb.law>; Keith Grant (kgrant@rswlaw.com) <kgrant@rswlaw.com>; Aaron Wells <awells@rswlaw.com>; L
Rufolo <lrufolo@rswlaw.com>; Kristin E. Berexa <kberexa@fbb.law>
Cc: Kevin Osborne <kevin@eko.law>; Heather Collins <heather@hmccivilrights.com>; Julie Erickson <julie@eko.law>
Subject: RE: B.P. et al. v. Johnson City, Tenn. et al. -- Depositions

Counsel,

Please see attached subpoena for service on Alunda Rutherford on Tuesday, March 19.

Best,




                                                                                1
       Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 2 of 11 PageID #:
                                           2735
                                                       Erica Russell
                                                       OFFICE MANAGER & SR. PARALEGAL
                                                       615.724.1996
                                                       7000 Executive Center Dr. #320
                                                       Brentwood, TN 37027




NOTICE: This e-mail message and all attachments transmitted with it may contain legally privileged and confidential information intended solely for the
use of the addressee. If the reader of this message is not the intended recipient, you are hereby notified that any reading, dissemination, distribution, copying,
or other use of this message or its attachments is strictly prohibited. If you have received this message in error, please notify the sender
(erica@hmccivilrights.com) immediately by electronic mail and delete this message and all copies and backups thereof. Thank you.


From: Linda Oxford <linda@eko.law>
Sent: Wednesday, March 13, 2024 6:10 PM
To: Daniel H Rader IV <danny@moorerader.com>; vanessa <vanessa@advocatesforsurvivors.com>; Elizabeth Kramer
<elizabeth@eko.law>; Emily Taylor <etaylor@watsonroach.com>; Lisa May <lisa@hbm-lawfirm.com>; Jon Lakey
<jlakey@bpjlaw.com>; Ben C. Allen <ballen@fbb.law>; Keith Grant (kgrant@rswlaw.com) <kgrant@rswlaw.com>; Aaron
Wells <awells@rswlaw.com>; L Rufolo <lrufolo@rswlaw.com>; Kristin E. Berexa <kberexa@fbb.law>
Cc: Kevin Osborne <kevin@eko.law>; Erica Russell <erica@hmccivilrights.com>; Heather Collins
<heather@hmccivilrights.com>; julie@eko.law
Subject: Re: B.P. et al. v. Johnson City, Tenn. et al. -- Depositions

Counsel:
Please see attached subpoenas. Thank you.

LINDA OXFORD
ERICKSON KRAMER OSBORNE
San Francisco, California
Direct: (415) 635-0631
www.eko.law




From: Linda Oxford <linda@eko.law>
Sent: Wednesday, March 13, 2024 4:07 PM
To: Daniel H Rader IV <danny@moorerader.com>; vanessa <vanessa@advocatesforsurvivors.com>; Elizabeth Kramer
<elizabeth@eko.law>; Emily Taylor <etaylor@watsonroach.com>; Lisa May <lisa@hbm-lawfirm.com>; Jon Lakey
<jlakey@bpjlaw.com>; Ben C. Allen <ballen@fbb.law>; Keith Grant (kgrant@rswlaw.com) <kgrant@rswlaw.com>; Aaron
Wells <awells@rswlaw.com>; L Rufolo <lrufolo@rswlaw.com>; Kristin E. Berexa <kberexa@fbb.law>
Cc: Kevin Osborne <kevin@eko.law>; Erica Russell <erica@hmccivilrights.com>; Heather Collins
<heather@hmccivilrights.com>; Julie Erickson <julie@eko.law>
Subject: Re: B.P. et al. v. Johnson City, Tenn. et al. -- Depositions

Counsel:
Please see attached subpoenas. A few more subpoenas will be sent in a separate email.

Thank you.

LINDA OXFORD
ERICKSON KRAMER OSBORNE
San Francisco, California
Direct: (415) 635-0631

                                                                                2
       Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 3 of 11 PageID #:
                                           2736
www.eko.law




From: Daniel H Rader IV <danny@moorerader.com>
Sent: Tuesday, March 12, 2024 2:49 PM
To: vanessa <vanessa@advocatesforsurvivors.com>; Elizabeth Kramer <elizabeth@eko.law>; Emily Taylor
<etaylor@watsonroach.com>; Lisa May <lisa@hbm-lawfirm.com>; Jon Lakey <jlakey@bpjlaw.com>; Ben C. Allen
<ballen@fbb.law>; Keith Grant (kgrant@rswlaw.com) <kgrant@rswlaw.com>; Aaron Wells <awells@rswlaw.com>; L
Rufolo <lrufolo@rswlaw.com>; Kristin E. Berexa <kberexa@fbb.law>
Cc: Kevin Osborne <kevin@eko.law>; Erica Russell <erica@hmccivilrights.com>; Heather Collins
<heather@hmccivilrights.com>; Julie Erickson <julie@eko.law>; Linda Oxford <linda@eko.law>
Subject: Re: B.P. et al. v. Johnson City, Tenn. et al. -- Depositions

Plaintiffs’ counsel, please see attached correspondence and materials concerning depositions.



Daniel H. Rader IV
Moore, Rader & York P.C.
46 N. Jefferson Ave.
Cookeville, TN 38501
931-526-3311
931-526-3092 (fax)



From: Elizabeth Kramer <elizabeth@eko.law>
Date: Monday, March 11, 2024 at 4:56 PM
To: Emily Taylor <etaylor@watsonroach.com>, Lisa May <lisa@hbm-lawfirm.com>, Jon Lakey
<jlakey@bpjlaw.com>, "Ben C. Allen" <ballen@fbb.law>, "Keith Grant (kgrant@rswlaw.com)"
<kgrant@rswlaw.com>, Aaron Wells <awells@rswlaw.com>, Daniel H Rader IV <danny@moorerader.com>, L
Rufolo <lrufolo@rswlaw.com>, "Kristin E. Berexa" <kberexa@fbb.law>
Cc: Kevin Osborne <kevin@eko.law>, Erica Russell <erica@hmccivilrights.com>, "Kristin E. Berexa"
<kberexa@fbb.law>, vanessa <vanessa@advocatesforsurvivors.com>, Heather Collins
<heather@hmccivilrights.com>, Julie Erickson <julie@eko.law>, Linda Oxford <linda@eko.law>
Subject: B.P. et al. v. Johnson City, Tenn. et al. -- Depositions

Counsel,

Please see attached regarding the depositions of Mr. Higgins and Ms. Ball.


Thank you,
Elizabeth


Elizabeth A. Kramer
ERICKSON KRAMER OSBORNE
San Francisco, California

                                                            3
     Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 4 of 11 PageID #:
                                         2737
Direct: (510) 919-2347
www.eko.law




Do not send privileged information from a device where there is a risk that a third party may gain access. If you are not the intended recipient of
this email, please delete it and notify the sender.




                                                                          4
      Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 5 of 11 PageID #:
                                          2738
                       705 E. Myrtle Ave. Johnson City, TN 37601-4129




Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 6 of 11 PageID #:
                                    2739
Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 7 of 11 PageID #:
                                    2740
                                             EXHIBIT A

        Plaintiffs, by and through counsel, hereby request that the documents described in the

 Requests section below be produced pursuant to the duly issued subpoena served on you.

                             INSTRUCTIONS AND DEFINITIONS

        1.      These Requests apply to all documents in your possession, custody, or control, or

 accessible by you, regardless of the location or whether responsive documents are held by

 another person or entity.

        2.      These Requests apply to hard copy documents as well as any electronically stored

 documents.

        3.      If there are no responsive documents, please so state.

        4.      If any or all part of a Request is objected to as seeking privileged information, for

 each objection provide the following information in a separate privilege log: (a) the nature of the

 privilege asserted; (b) the type of document; (c) the date the document was created; (d) the length

 of the document; (e) the names of the document’s author(s) and all recipients; and (f) the subject

 matter of the document.

        5.      You may produce responsive documents as “Confidential” pursuant to the

 Stipulated Protective Order entered in this case, a copy of which is provided with this subpoena.

        6.      “Document” shall be construed in the broadest sense and shall include, but is not

 limited to, the following: reports, papers, books, letters, notes, memoranda, correspondence,

 telegrams, e-mails, text messages, instant messages, app messages, minutes, contracts,

 transcriptions of recordings, inter-office communications, microfilm, bulletins, circulars,

 pamphlets, studies, notices, notes, calendars, diaries, summaries, analogies, statutes, rules,

 regulations, code, teletype messages, worksheets, invoice, credit memoranda, sales slips, medical




                                      1
Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 8 of 11 PageID #:
                                    2741
 records, billing or credit statements, computer printouts, information stored in a computer,

 including electronic mail, CD ROMS, advertisements, posters, scripts and videotapes.

                                           REQUESTS

    1. All Documents relating to the following companies:

             a) Glass and Concrete Contracting LLC

             b) Skyline Contractors Group LLC

             c) Lauren Madison Bastidas Property LLC

             d) Strategic Investigations and Security LLC

             e) Universal TSCM Group LLC

             f) Southern Construction & Consulting, LLC

             g) Stone & Ox Properties LLC

             h) Team Oxendine LLC

             i) Davis Brothers Roofing LLC

    2. All Documents relating to the following individuals:

             a) Sean Williams

             b) Bart Mikitowicz

             c) Mitzi Emig

             d) Patricia Burke

             e) Juan Bastidas

             f) Casey Oxendine

             g) James R. Davis

             h) Wanda Patterson




                                      2
Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 9 of 11 PageID #:
                                    2742
     3. All Documents relating to any business(es) associated with the following addresses:

             a)   217 E Market St. Suite 110,

                  Johnson City, TN 37601

             b)   15441 12th Avenue,

                  Whitestone, NY 11357

             c)   154-41 12th Avenue,

                  Whitestone, NY 11357

             d)   705 E Myrtle Avenue,

                  Johnson City, TN 37601

             e)   112 View Bend St.

                  Johnson City, TN 37601

             f)   2916 Bristol Hwy

                  Johnson City, TN 37601

             g)   2234 SW Edison Cir.

                  Port St Lucie, FL 34953

             h)   200 E. Main Street, Suite 500

                  Johnson City, TN 37604

             i)   756 W King Street 2nd Floor

                  Boone, NC 28607

             j)   303 Falling Waters Rd,

                  Cullowhee, NC 28723

             k)   305 Messick Ave.

                  Church Hill, TN 37642




                                      3
Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 10 of 11 PageID #:
                                    2743
     4. All social media posts relating to Sean Williams.




                                      4
Case 2:23-cv-00071-TRM-JEM Document 190-4 Filed 05/14/24 Page 11 of 11 PageID #:
                                    2744
